Case 2:12-cv-00826-MHS-RSP Document 125 Filed 06/24/14 Page 1 of 1 PageID #: 2985



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  LIGHT TRANSFORMATION                               CASE NO. 2:12-CV-00826-MHS-RSP
  TECHNOLOGIES LLC,                                  (LEAD CASE)

  v.

  LIGHTING SCIENCE GROUP CORP.,
  ET AL.


  LIGHT TRANSFORMATION                               CASE NO. 2:12-CV-00827-MHS-RSP
  TECHNOLOGIES LLC,

  v.

  GENERAL
  .        ELECTRIC COMPANY;
  GE LIGHTING SOLUTIONS, LLC;
  GE LIGHTING, INC.; GE LIGHTING, LLC;
  GE LIGHTING SYSTEMS, LLC; GE
  LIGHTING SYSTEMS, INC.; AND
  WAL-MART STORES, INC.



           ORDER GRANTING WITHDRAWAL OF ATTORNEYS OF RECORD

         The Court having considered the Unopposed Motion to Withdraw of Adam Wolek and

  Anthony Blum as attorneys of record for Defendants Lighting Science Group Corp. and Home

  Depot U.S.A., Inc. finds that it should be in all things GRANTED.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 24th day of June, 2014.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
